
ORDER
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into numerous complaints of serious professional misconduct filed against respondent. The complaints allege that respondent neglected his clients’ legal matters, failed to communicate with his clients, and failed to promptly return his clients’ files upon request. Respondent also engaged in conduct which is prejudicial to the administration of justice. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Hardy M. Parker-son, Louisiana Bar Roll number 10327, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Hardy M. Parkerson for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5(c) of the Rules of Professional Conduct, as amended March 24, 2004.
IT IS FURTHER ORDERED that Hardy M. Parkerson shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
IT IS FURTHER ORDERED that the proceedings in 07-B-1923 be dismissed as moot.
/s/ Jeannette T. Knoll Justice, Supreme Court of Louisiana
